        Case 4:23-cv-00024-JTJ Document 15 Filed 06/16/23 Page 1 of 2



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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

 ITRIA VENTURES, LLC,                      Cause No. CV-23-24-GF-BMM-JTJ
              Plaintiff,
        v.                                 PLAINTIFF’S MOTION TO
                                           REMAND
 MARQUIS CATTLE COMPANY;
 CORY SHANNON MARQUIS;
 BECKIE JO MARQUIS,

              Defendants.

      Plaintiff Itria Ventures, LLC respectfully moves the Court for an Order

remanding this case back to state district court in Cascade County, pursuant to 28

U.S.C. § 1447(c). In accordance with Local Rule 7.1(c)(1), counsel for Defendants

has been contacted and opposes this motion.
  Case 4:23-cv-00024-JTJ Document 15 Filed 06/16/23 Page 2 of 2



DATED this 16th day of June, 2023.
                             BOONE KARLBERG P.C.

                             /s/ Natasha Prinzing Jones
                             Natasha Prinzing Jones
                             Attorneys for Plaintiff




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